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Video and the
Millionaire Real
Estate Agent

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Video and the
Millionaire Real
Estate Agent

J.P. Lewis
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J.P. Lewis
                      Austin, TX
                      Executive Director of
                      Media Services, KWRI


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  The Millionaire Real Estate Agent
                                        Eco nom ic
                                           Model




                 Organizational                                           Lead
                     Model                                              Generation
                                                                            Model




                                         Bud get
                                          Model




FAMILY REUNION                                                                                          LEAD S
                                  Case 4:19-cv-00332-SRB Document 1398-7 Filed 03/15/24 Page 10 of 23
2016
  Economic Model
             $1,200,000   Gross Revenue              $1,200,000                          Gross Revenue
                            from Sellers                                                   from Buyers
                            Commission                                                     Commission
       -••       3°/o                          -••           3°/o
       -- $40,000,000         Seller Sold
                                 Volume
                                              -- $40,000,000                       Buyer Sold Volume

              $250,000     Average Sales                $250,000                  Average Sales Price
       -••                                     -••
                                    Price
       --        160         Sellers Sold
                                              --             160                              Buyers Sold

                          % Conversion                                             % Conversion R ate
       -••       65°/o                Rate
                                               -••         80°/o
       --        246      Seller Lis ti11gs
                                   Taken
                                              --             200                Buyer Listi11gs Taken

                          % Conversion                                             % Conversion R ate
        •
       -•        80°/o                Rate
                                                •
                                               -•          65°/o
       --        308       Seller Listing
                          Appointme11ts
                                              --             308                          Buyer Listing
                                                                                          Appointments


FAMILY REUNION
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2016
  Lead Generation Model
                                          Prospect and Market
                   General Public
                 Haven·t Met Group

                   Target Group
                 Haven·t Met Group


                                                                             HAVEN'T
                                                                               MET


                                                                         I      MET        I

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FAMILY REUNION
                          Case 4:19-cv-00332-SRB Document 1398-7 Filed 03/15/24 Page 12 of 23
2016
  Budget Model
                 COST OF SALES


                 1.   Seller Specialist (s)                    OPERATING
                 1.   Buyer Specialist(s)                       EXPENSES
                 1.   Other COS
                               Total COS                  Salaries
                                                          1.    Lead Generation
                                                          1.    Occupancy
                                                          1.    Technolo~y
                                                          1.    Phone
                                                          1.    Supplies
                                                          1.    Education
                                                          1.    Equipment
                                                          1.    ~Auto/ Insurance
                                                                     Total Operating
                                                                           E xpenses
                                                                     Total H~enses
FAMILY REUNION
                                   Case 4:19-cv-00332-SRB Document 1398-7 Filed 03/15/24 Page 13 of 23
2016
   Organizational Model
                 SAU:SAND                   ADMINIS1RATION AND
                 MARKETING                           PROCESS INC



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FAMILY REUNION
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2016
  MREA Video Trends
   •   Website & YouTube Channel:
          • Video blog – how to’s, market updates, FAQ’s, etc
          • Team introductions
          • Listing/lifestyle videos
          • Neighborhood/community tours
          • Client testimonials
          • Agent bio/UVP
   •   Social Media:
          • Fun, authentic, value driven touches
          • Client appreciation/celebration
          • Listing/lifestyle videos when appropriate
          • Short neighborhood/community tours/updates
   •   Video Email:
          • Customer Service – what to expect next, team member handoff, post transaction follow-up
          • Drip Campaigns – market updates, buyer/seller tips, how to’s, FAQ’s, etc. (link back to video blog)
                  • ISA – lead conversion/nuture
                  • Previous clients
                  • Target group/farm
   •   Hidden video page/YouTube playlist:
          • Team training videos
          • Pre-listing packet video for seller
          • Listing/neighborhood videos to show at listing appointment
FAMILY REUNION
                                              Case 4:19-cv-00332-SRB Document 1398-7 Filed 03/15/24 Page 15 of 23
2016
                  $70M VOLUME, $1.65M GCI
PRIORITY#1        122 LISTINGS CLOSED @ $3OOk (2% comm) -                Tracking 1 / 1/ 16
                  $732,000 GCI ($36.6M)
    STRATEGY 1: FSBO,, Expired, Withdr;>wn              52 FAMILIES      0 FAMILI ES                                                      122 SE LLERS CLOSED
    SlRATEGY2: Sphere/ Past Client Touch Program        20 FAMILIES      0 FAMILI ES

    SlRATEGY3: Agent to Agent Referral Touch Program    8 FAMILIES       0 FAMILI ES
                                                                                                           Str.ategy                                           I
                                                                                                                                                               Appomtment.s       I      lr•ckmg
                                                                                                                                                                                           1;1/16
                                                                                                                                                                                                       Cfoj1ngs      I     Tradong
                                                                                                                                                                                                                            111/16

    STRATEGY 4: Georgetown Expansion                    20 FAMILIES      0 FAMILI ES                       AAJ11otln FSBOs, E,. piriftd, Widu:lrilwn                     250                                52

    SlRATEGYS: St Louis Expansion                       20 FAMILIES      0 FAMILI ES                       A..i,-tln Sphe ,·• /P.a,st Ol11nt                                 25                             20
                                                                                                           Agent to Agent Referral                                           12                                 8
    SlRATEGY6: Inside ATX Podcast                       2 FAMILIES       0 FAMILI ES
                                                                                                           Georgetown FSSOc Expired, Withdrawn                               55                                 10
PRIORITY#2        134 BUYERS CLOSED @ S2S0k (2.75% comm)"'               Tracking 1 / 1 / 16               Georgetown OthPr                                                  ?O                                10
                  $921 ,250 GCI ($33.SM)
                                                                                                           St L-:-,is FSRO, E• r,iu)d, Withd,~n                              5S                                10
    SlRATEGY1 : PPCAdWords                              40 FAMILIES      0 FAMILI ES                       St Louis Other                                                    20                                10
    STRATEGY 2: Sphero/ P;>st Client Tou<:h Progr.sm    36 FAMILIES      0 FAMILIES                        Inside ATX Podcast                                                 4                                 2

                                                                                                                                                       Total             4 41                    0         122                  0
    SlRATEGY3: Agent t o Agent Referral Touch Program   24 FAMILIES      0 FAMILI ES

    SlRATEGY4: Georgetown Expansion                     16 FAMILIES      0 FAMILI ES

    SlRATEGYS: St Louis Expansion                       16 FAMILIES      0 FAMILI ES

    SlRATEGY6: Inside ATX Podcast                       2 FAMILIES       0 FAMILI ES

PRIORITY #3       GREAT SYSTEMS                         Target Date      Finish Date
                                                                                                                                        134 BUYERS CLOSED
    SlRATEGY 1: Outside Sales (ASHLEY)                  November 201 S

    STRATEGY 2 : Client Touch !APRIL)                   December 2015
                                                                                                              Strate_gy ,
                                                                                                                       .
                                                                                                                                                       Appointments      I            Tracking
                                                                                                                                                                                       1/1/16
                                                                                                                                                                                                 I   Closings   I        Tracking
                                                                                                                                                                                                                          1/1/16
                                                                                                                                                                                                                                    I
    STRATEGY 3: Agent Touch {APRIL)                     December 2015                                         AustinPPC                                            120                                    40

    STRATEGY 4: Ex pansion (WENDY)                      On-gomg                                               Sphere/Past Client                                    50                                    36

    STRATEGY 5 : Tracking (APRIL)                       On-gomg                                               Agent to Agent Referral                               36                                    24
                                                                                                              Georgetown PPC                                        40                                     8
    STRATEGY 6: Inside ATX Podcast (JAY)                January 2016
                                                                                                              Georgetown Other                                      16                                     8
PRIORITY#4        AMAZING PEOPLE                        Target Date      Finish Date
                                                                                                              St louis PPC                                          40                                     8
     PERSON 1: Outside Sales                            November 2015    November 2015
                                                                                                              St Louis Other                                        16                                     8
     PERSON 2 : Outside Sales                           Novembe, 2015
                                                                                                              Inside ATX Podcast                                     4                                     2
     PERSON 3: M arketing/ Inside ATX                   November 2015    November 201 S
                                                                                                                                               Total               322                      0            134                 456
     PERSON 4: Personal Assistant                       December 2015

     PERSON S: M arketing Manager                       December 2015

     PERSON 6: Listing Agent                            March 2016

   FAMILY         REUNION
     PERSON 7: Closing  Manager                         March 2016
                                                                                       Case 4:19-cv-00332-SRB Document 1398-7 Filed 03/15/24 Page 16 of 23
   2016
  PERSONS 8 & 9: Expansion Agents                       August 2016
                                                                                      •
                                                     INCOME
         PERSON
                                                          lncomo Buvor Sldo

         Business o ,e vel'o pment                        lncomo Listing Sidi

         Director
                                                              Total lncomo
         Closing Coordinator
                                                     COST OF SALE

         Clo,s ing Coordinator (2)                        Homo•Stiling EJCptn10,
                                                          ISA/OSA Comml11lon P1ld 1




         Creatlve Director                                Agont Commlatlon Paid Out,
                                                                                           Othor lne:omo/Expenso
                                                     TOTAL COS
         Inside Sales (2)                                                                       Othor Income
                                                          Gro11 Prsof1t
                                                                                                        lnterost rneome
         Inside Sales (3)
                                                     EXPENSES                                   Tot.al Other Income

         Lead 1
              Listing Agent                               Salar-101/Bonont,
                                                          Lead Ganaratlon                       Other Expe~o

         Listing Manager                                  KW Roru EJtpen,oa                             Contributions
                                                          Podca1t                                       Officer Salarytraxes
         Operations Director                              CommunleatlonTT&chnology               Personal Asst SalaryfTa>
                                                          Educallon/Duoa/Fu1
                                                                                           -----+-----
                                                                                                        Coaching/Consulting
         Personal Assistant                               Automobllt
                                                                                                        ,Othor Ront (S Corp)1
                                                          Supplloa/Offico Expanses
         VA                                                                                     Total Othor Expens:;.:O;,___ _ ,
                                                          Prof111lanal Sorvlco1

                                                          Travel
                                                                                           N'ot Othar Income _ _ _ __
                                                          Meals and Entertainment
FAMILY REUNION
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2016                                                  TOTAL EXPENSE
                                                                                      •    NET INC 0ME
                                                                                                    1
  Summary

                                    testimonial videos




                                      Sue Adler Team Cl ient " Mix And
                                           Mingle" Party Buzuzz




                                       Christine Harmon's Interview
                                      About Her NJ Home Buying And
                                     Selling Experiences With Su e Adler




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       MREA Video Mastermind
                &
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